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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                             §
                                                      §
 vs.                                                  §        Case No. 4:06cr16
                                                      §        (Judge Schell)
 STACEY ALLEN SIMS (18)                               §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on January 12, 2012, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by James

 Peacock.

        On January 25, 2007, Defendant was sentenced by the Honorable Richard A. Schell to fifty-

 three (53) months’ custody followed by three (3) years of supervised release for the offense of

 Conspiracy to Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On December 4, 2009, Defendant completed his period of imprisonment and

 began service of his supervised term.

        On December 12, 2011, the U.S. Probation Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated several mandatory and

 standard conditions. All alleged violations except for allegation eight were dismissed by the

 Government. Allegation eight asserted that Defendant violated the following mandatory condition:

 The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall

 submit to one drug test within fifteen days of release from imprisonment and at least two periodic

 drug tests thereafter, as determined by the court.
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            The petition alleges that Defendant committed the following act: (1) Defendant submitted

     urine specimens that tested positive for methamphetamine on June 10, 2011, and July 27, 2011.

            Prior to the Government putting on its case, Defendant entered a plea of true to allegation

     eight. The Court recommends that Defendant’s supervised release be revoked.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of twenty-four (24) months with

     no supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons, Texarkana Unit.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
            SIGNED this 19th day of January, 2012.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
